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 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-0041 TLN

12                                Plaintiff,             STIPULATION TO CONVERT SENTENCING
                                                         DATE TO STATUS CONFERENCE
13                          v.
                                                         DATE: March 20, 2018
14   JAMES SMALLWOOD,                                    COURT: Hon. Troy L. Nunley
15                               Defendant.

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17          The United States of America, through the undersigned Assistant U.S. Attorney, and counsel for

18 James Smallwood hereby stipulate to convert the scheduled sentencing date of May 31, 2018, into a

19 status conference for Mr. Smallwood. As noted in Mr. Smallwood’s plea agreement, he has agreed to

20 delay sentencing until a resolution is reached in the case against his co-defendant, John Smallwood. The

21 Government and John Smallwood anticipate informing the Court on April 26 either that they have

22 reached a resolution, or that they are going to ask for trial dates. The Government and James

23 Smallwood will update the Court on the status of this case by April 27, i.e., whether sentencing needs to

24 be continued further in light of a trial for John Smallwood, or whether sentencing may be scheduled.

25          In light of the foregoing, the parties ask that the Court convert the May 31 sentencing date for

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 1 James Smallwood into a status conference.

 2 Dated: March 20, 2018                                      MCGREGOR W. SCOTT
                                                              United States Attorney
 3

 4                                                    By: /s/ OWEN ROTH
                                                          OWEN ROTH
 5                                                        Assistant United States Attorney
 6

 7 Dated: March 20, 2018                              By: /s/ DOUGLAS BEEVERS
                                                          DOUGLAS BEEVERS
 8                                                        Counsel for James Smallwood
 9
                                                      ORDER
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            In light of the parties’ stipulation, which provides good cause for the requested order, it is hereby
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     ordered that the sentencing date for James Smallwood is hereby converted into a status conference. The
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     parties shall advise the Court no later than April 27 of the status of this matter, including whether
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     sentencing may be rescheduled or whether an additional continuance is necessary at that time.
14
            SO ORDERED.
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     Dated: March 22, 2018
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                                                                  Troy L. Nunley
18                                                                United States District Judge

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